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                                  UNITED STATES DISTRICT COURT                                           JS-6
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.          CV 16-5360 PA (FFMx)                                           Date   August 22, 2017
 Title             U.S. Marine Surveyors, Inc., et al. v. Edward Riener, et al.



 Present: The                    PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
 Honorable
         Kamilla Sali-Suleyman                            Marea Woolrich                           N/A
                 Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                      David N. Makous                                      Edward Riener, Pro Se
                      Navdeep K. Singh
 Proceedings:                 EVIDENTIARY HEARING

        Case called; appearances made. Court and counsel confer regarding the status of the case. The
Court confers with counsel individually out of the presence of opposing counsel. That portion of the
transcript is ordered sealed. The parties have reached a settlement. The parties recite the terms of the
settlement on the record. Each party states their understanding and approval of the essential terms of the
settlement. The Court dismisses this action with prejudice. The Court retains jurisdiction for purposes
of enforcing the settlement. All other dates in this action, including the trial date are vacated. Injunction
Bond is ordered released. Exhibit 1 is identified and admitted. All pending motions (Docket Nos. 68, 70,
116) are denied as moot.

         IT IS SO ORDERED.




         cc: FISCAL
                                                                                         2         :      07
                                                                Initials of Preparer         KSS




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